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8                              UNITED STATES DISTRICT COURT
9                            CENTRAL DISTRICT OF CALIFORNIA
10      MISTER BAILEY,                             Case No. CV 20-10787 AB (PDx)
11                      Plaintiff,
12      v.                                         ORDER DISMISSING CIVIL ACTION
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        LA CHUPERIA, THE TORTA SPOT,
14      INC.; ILHAM HEATHER AL
        SARRAF; and DOES 1 to 10,
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                        Defendants.
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             Counsel has advised the Court that this action has been settled.
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             IT IS THEREFORE ORDERED that this action is hereby dismissed without
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       costs and without prejudice to the right, upon good cause shown within 30 days, to re-
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       open the action if settlement is not consummated. This Court retains full jurisdiction
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       over this action and this Order shall not prejudice any party to this action.
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24     Dated: March 8, 2021             _______________________________________
                                        ANDRÉ BIROTTE JR.
25                                      UNITED STATES DISTRICT JUDGE
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                                                  1.
